Case 9:20-cr-00032-DWM Document 190-4 Filed 02/25/22 Pagelof1

The Honorable Donald W. Molloy
United States District Judge
United States District Court
District of Montana

201 E. Broadway

Missoula, MT 59802

Your Honor,

Please allow me to introduce myself. My name is Jennifer E. Copeland and | am the grandmother
of Matthew Marshall’s two youngest daughters, Merrick and Sutton, and mother to Keegan
Bonnet.

| have known Matthew Marshall for close to 7 years, not so much in a social manner, but rather a
personal family manner. | have observed him with scrutiny, as he is the father of my beautiful
granddaughters and best-friend to my daughter Keegan. Although their relationship is not
conventional, | have learned to accept and honor their choices and know in my heart that their
biggest priority is raising their children in a healthy and happy environment. The reason | do so is
because of my love for them. | have come to think of Matthew like one of my own children. His
kindness, patience, resilience, and persistence are an integral part of his personality. No matter
how difficult things have been the last few years he has always been present for all of us. Matthew
has always shown love, respect, and empathy to me and my husband. In the years | have known
him | have never seen him lose his temper, overindulge in alcohol, or even raise his voice in
anger.

Matthew has the patience of Job with his children. He is their hero. And he enjoys being a father.
Whether it’s playing dolls or soccer, comforting them through a painful bee sting, or a simple walk
around the neighborhood holding their hand, he loves being their world.

| would trust this man with my life and know that he is as honorable as they come.

| am asking for compassion and leniency when sentencing Matthew Marshall. His daughters and
family need him very much through these trying times. We all depend on him for his strength and
resilience. These formative years for his children will be very difficult and lost to all of us if he is
not able to be a part of their lives.

Thank you for your time and consideration.
Respectfully and with hope,

Jennifer, Copeland a

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Casictte E. Copeland

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